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                                                        THE HONORABLE JOHN C. COUGHENOUR
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 6
                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9   STATE OF WASHINGTON, et al.,                         CASE NO. C25-0127-JCC
10                            Plaintiffs,                 MINUTE ORDER
11           v.

12   DONALD TRUMP, et al.,

13                            Defendants.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          Today, the Court granted Plaintiff States’ motion for a nationwide temporary restraining
18   order (TRO). (Dkt. No. 43.) The TRO is effective as of 11:00 AM today and will remain in effect
19   for 14 days, pending further orders from the Court. (Id. at 3–4.) To that end, the Court issues the
20   following schedule for a preliminary injunction:
21          •     Plaintiffs’ motion for a preliminary injunction shall be filed on or before Monday,
22                January 27, 2025.
23          •     The Government’s response is due on or before Friday, January 31, 2025.
24          •     Plaintiffs’ reply is due on or before Tuesday, February 4, 2025.
25          •     A preliminary injunction hearing is set for Thursday, February 6, 2025, at 10:00
26                AM.


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 1        DATED this 23rd day of January 2025.
                                                     Ravi Subramanian
 2                                                   Clerk of Court
 3
                                                     s/Kathleen Albert
 4                                                   Deputy Clerk

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